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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     FLOWRIDER SURF, LTD., a Canadian                Case No.: 3:15-cv-01879-BEN-BLM
       corporation and
12
       SURF WAVES, LTD., a company                    ORDER RE: CLAIM
13     incorporated in the United Kingdom,            CONSTRUCTION AS TO
                                        Plaintiffs,   U.S. PATENT No.: 8,088,016
14
15     v.
16     PACIFIC SURF DESIGNS, INC., a
       Delaware corporation,
17
                                       Defendant.
18
19
20           Plaintiffs FlowRider Surf, Ltd. ("FlowRider") and Surf Waves, Ltd. ("Surf
21     Waves"), wholly owned subsidiaries of Whitewater West Industries, Ltd.
22    ("Whitewater"), are in the water-park rides industry. FlowRider is the exclusive global
23     licensee of U.S. Patent No. 6,491,589 (the "'589 Patent") entitled, "Mobile Water Ride
24    Having Sluice Slide-Over Cover." (Doc. No. 1, Comp!. ii 9.) Surf Waves owns U.S.
25    iJ!ltent No. 8,088,Q1_6 (the "'016 Patent") entitled, "Half-Pipe Water Ride." (Id.          ii 12.)
26    Defendant Pacific Surf Designs ("PSD") competes with Plaintiffs in the water-park rides
27     industry.
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 1            On August 24, 2015, Plaintiffs FlowRider and Surf Waves commenced this patent
 2     infringement action alleging Defendant PSD willfully infringed the '589 and '016
 3     Patents. (Id.) This Court dismissed the '589 Patent on May 26, 2017 for lack of subject
 4     matter jurisdiction. (Doc. No. 222.) On January 17, 2018, after inter partes review of the
 5     '016 Patent, the Patent Trial and Appeal Board ("PTAB") issued its Final Written
 6 Decision pursuant to 35 U.S.C. § 318(a) and 37 C.F.R. § 42.73. (Doc. No. 230-1, Ex. A.)
 7 In the decision, the PTAB found all the "asserted' claims (1-5 and 7-20) to be
 8 unpatentable. 1 (Id. at 60.) Specifically, claims (1-5 and 7-20) of the '016 Patent are
 9 unpatentable under 35 U.S.C. §§ 102(b) and 103(a) as follows:
10           a)     Claims 1-5, 8, 9, 12, 15-17, and 19 are unpatentable as anticipated by
                    Lochtefeld 589;
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             b)     Claims 1-5, 7-13, and 15-19 are unpatentable as obvious over Lochtefeld
12                  589;
             c)     Claims 1-5, 15, 16, 18, and 20 are unpatentable as anticipated by Lochtefeld
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                    530;
14           d)     Claims 1-5 and 7-20 are unpatentable as obvious over Lochtefeld 530 and
                    Lochtefeld 590.
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16     (Id. at 58-59.) As a result of the PTAB's decision, the '016 Patent is essentially
17     unenforceable in this proceeding. See Cuozzo Speed Techs., LLC v. Lee, 136 S. Ct. 2131,
18     2143 (2016) ("[A] decision to cancel a patent [in an IPR] normally has the same effect as
19     a district court's determination ofa patent's invalidity.)
20           On January 17, 2018, the parties submitted a Joint Status Report in compliance
21     with this Court's May 26, 2017 Order. (Doc. No. 235.) In light of the PTAB's decision,
22     Plaintiff Surf Waves seeks to stay the action pending exhaustion of its appeal before the
23     United States Court of Appeals for the Federal Circuit. (Doc. No. 238.) Defendant PSD
24     requests the Court enter final judgment so that the parties can begin post-judgment
25     briefing and allow PSD to seek its attorney's fees and costs. (Id.)




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 1           The Court, having reviewed the PTAB's Final Written Decision and the parties'
 2    joint filing, declines to stay the action as to the '016 Patent. Based on the decision of the
 3     PTAB, Plaintiff's patent is unenforceable and judgment is entered for the Defendant. See
 4     e.g., Game & Tech. Co. Ltd. v. Blizzard Entertainment, Inc., 2:16-cv-06499-MLH (SKx)
 5 (C.D. Cal. Mar. 28, 2018).
 6           IT IS SO ORDERED.

 ;    Date: May 2,-2018

 9                                                      nited States District Judge
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